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                               UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF NORTH CAROLINA
                                       RALEIGH DIVISION



 In re:                                             )
                                                    )
 RANDY P. COLEY,                                    )
                                                    )        Case No. 18-02154-JNC
                                                    )        Chapter 7
                                            Debtor. )
                                                    )


 RICHARD D. SPARKMAN, Chapter 7 Trustee,              )
                                                      )
                 Plaintiff,                           )      Adversary Proceeding
                                                      )      No. 18-00113-5-JNC
    -against-                                         )
                                                      )
 ITS THUNDERTIME, LLC, a Delaware Limited             )
 Liability Company; RANDY P. COLEY;                   )
 KIMBERLY COLEY,                                      )
                                                      )
                 Defendants.                          )

    DECLARATION OF GEORGE F. SANDERSON III CERTIFYING COMPLIANCE
     WITH FEDERAL RULE OF BANKRUPTCY PROCEDURE 7065 REGARDING
                    NOTICE TO OPPOSING PARTIES

          Pursuant to 28 U.S.C. § 1746, George F. Sanderson III declares as follows:

          1.     I am more than eighteen years old and otherwise competent to testify regarding

 the matters herein.

          2.     I am a partner with the Raleigh, North Carolina law firm of Ellis & Winters LLP

 and represent Richard D. Sparkman, Chapter 7 Trustee (“Trustee”) for the Bankruptcy Estate of

 Randy P. Coley, in the above-captioned matter.

          3.     I make this certification in compliance with Local Rule 7065-1.
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        4.      On November 8, 2018, I caused to be filed and served a motion for preliminary

 injunction in the above-captioned matter [D.E. # 3]. The method of service is set forth in the

 Certificate of Service attached to the motion.

        5.      The Trustee sought to reduce the response time to and have the Court set an

 expedited hearing on the motion for preliminary injunction, which request was granted by order

 of this Court. [D.E. # 7] I have caused to be filed and served a Notice of Motion setting forth the

 response and hearing dates consistent with the Court’s order. [D.E #9] The method of service is

 set forth in the Certificate of Service attached to the Notice of Motion.

        6.      I am satisfied that the efforts to provide service to opposing parties of the motion

 for preliminary injunction and related notice of motion and hearing are sufficient and comply

 with Federal Rule of Bankruptcy procedure 7065, incorporating by reference therein Rule 65 of

 the Federal Rules of Civil Procedure.



        I declare under penalty of perjury that the foregoing is true and correct to the best

 of my knowledge and belief.



        This the 9th day of November, 2018


                                                       /s/ George F. Sanderson III
                                                       George F. Sanderson III




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                                 CERTIFICATE OF SERVICE

        I, George F. Sanderson III of ELLIS & WINTERS LLP hereby certify:

        That I am, and all time hereinafter mentioned was, more than eighteen (18) years of age;

        I hereby certify that on November 9, 2018, a true and correct copy of the Declaration of

 George F. Sanderson III Certifying Compliance with Federal Rule of Bankruptcy Procedure

 7065 Regarding Notice to Opposing Parties was served by e-mail and overnight, express mail to

 the following parties:

        J.M. Cook
        J.M. Cook, P.A.
        5886 Faringdon Place, Suite 100
        Raleigh, NC 27609
        919 675-2411
        J.M.Cook@jmcookesq.com
        Attorney for the Debtor

        Danny Bradford
        Bradford Law Offices
        455 Swiftside Drive, Suite 106
        Cary, NC 27518
        Dbradford@bradford-law.com
        Attorney for Kimberli Coley

        I further certify that on November 9, 2018, a true and correct copy of the Notice of
 Hearing on Motion for Preliminary Injunction was served by overnight, express mail to the
 following parties:

        Its Thundertime LLC
        c/o Kimberli M. Coley, Registered Agent
        202 Brittany Place
        Cary, NC 27511

        Randy P. Coley
        202 Brittany Place
        Cary, NC 27511

        Kimberli M. Coley
        202 Brittany Place
        Cary, NC 27511



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      This the 9th day of November, 2018.

                                                /s/George F. Sanderson, III
                                                George F. Sanderson, III
                                                N.C. Bar No. 33054
                                                ELLIS & WINTERS LLP
                                                4131 Parklake Avenue, Suite 400
                                                Raleigh, NC 27612
                                                Telephone: (919) 865-7000
                                                Facsimile: (919) 865-7010
                                                george,sanderson@elliswinters.com
                                                Counsel for the Trustee for Limited
                                                Purposes




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